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                                         IN THE
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA

                               CASE NO.: 1:16-cv-1266 TWP-DKL


  “JOHN DOE”, an individual,

         Plaintiff,

  vs.

  BUTLER UNIVERSITY, an Indiana non-profit corporation,
  JAMES M. DANKO, an individual,
  LEVESTER JOHNSON, an individual,
  STACIE COLSON PATTERSON, an individual,
  ANNE FLAHERTY, an individual,
  SALLY CLICK, an individual,
  ERIN McCLUNEY, an individual,
  ROBERT PADGETT, an individual,
  MARTHA DWIZLIK, an individual, and
  “JANE SMITH ”, an individual,

         Defendants.
                                             /

                        AMENDED COMPLAINT (REDACTED)

         The Plaintiff, “JOHN DOE”,1 an individual (“Plaintiff”), by and through his undersigned

  counsel, files this Complaint seeking both compensatory damages (in excess of $75,000.00) from,

  and injunctive relief against, BUTLER UNIVERSITY, an Indiana non-profit corporation



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          Plaintiff’s motion for leave to proceed under a pseudonym, “JOHN DOE”, has now been
  granted (DE-7], [DE-8], resulting in the filing of a redacted complaint (and amended redacted
  complaint). A subsequent order also required him to refer to a Butler student named as a defendant
  in the Complaint by a pseudonym as well, “JANE SMITH.” [DE-10].


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  (“BUTLER”), JAMES M. DANKO, an individual (“DANKO”), LEVESTER JOHNSON, an

  individual (“JOHNSON’), STACIE COLSON PATTERSON, an individual (“PATTERSON”),

  ANNE FLAHERTY, an individual (“FLAHERTY”), SALLY CLICK, an individual (“CLICK”),

  ERIN McCLUNEY, an individual (“McCLUNEY”), ROBERT PADGETT, an individual

  (PADGETT”), MARTHA DWIZLIK, an individual (“DWIZLIK”), and “JANE SMITH”, an

  individual (“JANE SMITH”), and states:

                                SUMMARY OF THE COMPLAINT

         Plaintiff, a resident of Florida, was enrolled as a full-time undergraduate student at Butler

  University, located in Indianapolis, Indiana. During his freshman year, his academic performance

  was excellent, as he achieved a “B+” grade point average. However, in the spring of 2015, he was

  falsely accused by a fellow student, “JANE SMITH”, of non-consensual sexual activity. Her

  allegations led to a formal grievance being filed by BUTLER against Plaintiff, which gave him

  certain very limited rights to due process, namely: the right to an administrative hearing, the right

  to call witnesses in his behalf, the right to submit questions to be asked of witnesses called by

  BUTLER, and the right to be represented by an individual of his choosing (attorney or a student

  adviser). No grievance proceedings were instituted against “JANE SMITH”.

         At that hearing, the critical issue to be decided by an Equity Grievance Panel (“Panel”),

  comprised of faculty members from BUTLER, was whether the sexual activity between Plaintiff and

  “JANE SMITH” – which was not denied by either of them – was consensual. The preponderance

  of the evidence not only weighed in favor of Plaintiff, the evidence was overwhelmingly in his

  favor, as “JANE SMITH” herself testified that she never said or did anything to indicate to

  Plaintiff, either before or during their physical contact, that she was not consenting to same.


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  To the contrary, her actions over a period of several hours on the night in question, as witnessed by

  persons called as witnesses by both sides, demonstrated overt behavior by her which was totally

  consistent with the encounter between Plaintiff and “JANE SMITH” being completely consensual.

         For example, Plaintiff and “JANE SMITH” danced intimately with each other at a fraternity

  party for several hours, and in the presence of approximately 100 witnesses, were “making out”

  during that entire time; the couple made several attempts to leave the party together, only to be

  restrained by “JANE SMITH’S” girlfriends, who did not want her to leave the party with Plaintiff

  – not because of any improper behavior by Plaintiff, but rather due to their own concerns about

  “JANE SMITH”; and finally, when confronted by one of those girlfriends, as Plaintiff and “JANE

  SMITH” were about to enter his dormitory, she (“JANE SMITH”) indicated that she wanted to go

  with Plaintiff to his room. In short, the evidence showed completely consensual behavior by both

  Plaintiff and “JANE SMITH” – before and during the sexual activity which occurred that night in

  Plaintiff’s dormitory room, said activity ending when “JANE SMITH” indicated that it “hurt”, and

  Plaintiff properly considering that language as an indication that she was withdrawing consent.

         Notwithstanding the above, unrebutted testimony, at least one member of the Panel, CLICK,

  improperly put the burden of proof on Plaintiff to prove that he had obtained actual verbal consent

  before the sexual activity commenced, which is inconsistent with BUTLER’S Civil Rights Equity

  Grievance Policy (hereinafter, “Policy”).2 That policy addresses, inter alia, sexual contact between

  the university’s students, and although it requires that a formal consent be obtained by a student

  prior to any sexual contact with another student, that consent can be obtained through “word or

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         A copy of the Policy is attached hereto as Exhibit “A”.


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  action” (emphasis added); otherwise, the contact is deemed to be non-consensual and a violation of

  the Policy, thereby subjecting an offending student to sanctions – up to and including expulsion.

         Ultimately, the Panel, comprised of CLICK, PADGETT, and McCLUNEY, found that

  Plaintiff had engaged in non-consensual sexual activity with “JANE SMITH”, despite the

  overwhelming evidence to the contrary. The Panel recommended that he be immediately and

  permanently expelled from BUTLER, with his permanent student record marked to indicate the

  expulsion.3

         These severe sanctions were approved by FLAHERTY, the non-voting chairperson of the

  Equity Grievance Panel, and PATTERSON, BUTLER’S Title IX Coordinator. An administrative

  appeal, allowed in writing only, was timely submitted to PATTERSON, who upheld the Panel’s

  decision, notwithstanding numerous procedural and substantive errors committed during the

  grievance process. Exhaustive efforts were made by Plaintiff, through undersigned counsel, to

  convince BUTLER to allow him to voluntarily withdraw from the school, and to have his permanent

  record corrected accordingly. BUTLER and its personnel with the authority to accept such a

  compromise – including PATTERSON, DANKO, as President of BUTLER, and JOHNSON, as

  Vice-President for Student Affairs – refused to either reverse the decision of the Panel, or to allow

  Plaintiff to voluntarily withdraw from the school.

         But these acts were not the only denial of due process that Plaintiff suffered at the hands of



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         The actual language placed on his permanent record is as follows:

                   “May 18, 2015 – Dismissed permanently from the University.”


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  BUTLER and the above-named individual defendants. Plaintiff is Hispanic, while none of the

  named defendants are (upon information and belief, one is African-American, and the rest are white

  and non-Hispanic), and Plaintiff believes that the decision to institute grievance proceedings against

  him in the first place were racially motivated. Plaintiff also believes that improper pressure was

  brought to bear by both the complaining student, “JANE SMITH”, and her father, for BUTLER to

  expel him, even before the school’s investigation had begun and well before the grievance

  proceedings commenced. BUTLER “fast-tracked” the proceedings against Plaintiff: the alleged non-

  consensual sexual activity occurred on April 19, 2015; the Panel convened a one-day hearing on May

  14, 2015; and Plaintiff was served with the Final Determination letter on May 18, 2015, which

  informed him of the Panel’s decision and the sanction imposed by the school. Other than being

  allowed to finish his final examinations, Plaintiff was ordered off campus immediately upon the

  service of that letter (in fact, he had to ask for permission to come back on campus to retrieve his

  personal belongings, and was only allowed to do so with a BUTLER police officer present).

         An independent criminal investigation was conducted by the Prosecutor’s Office for Marion

  County, and no criminal charges were filed against Plaintiff. Nevertheless, the actions of

  BUTLER and the other named defendants have resulted in actual and substantial injury to Plaintiff,

  namely, that his academic record bears the stigma of permanent expulsion – and when asked in

  applications to other colleges to explain the reasons for the expulsion, Plaintiff has been truthful and

  forced to acknowledge that he was accused of and found guilty (albeit improperly) of sexual

  misconduct. Thus he has effectively been labeled as a sex offender at the age of 19 just as if he had

  been found guilty of a criminal act and his name placed on a state sex offender registry.

         The false allegations against Plaintiff, the lack of due process afforded him by BUTLER and


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  the other Defendants, and the evidence of racial animus against him, have already had far-reaching

  consequences: he applied to seven (7) colleges, and was rejected by all seven – and in each and every

  case, the reason he was not accepted was the expulsion from BUTLER, and the circumstances

  leading up to that expulsion. The psychological toll on Plaintiff is severe, as for more than six

  months after his expulsion, Plaintiff had to live with the very real possibility that he would be totally

  unable to obtain admission to another college. Plaintiff had been defamed, and his ability to succeed

  academically at any college or university, much less one of his choosing, was seriously placed in

  jeopardy – which, in turn, will affect his ability to earn a living throughout his adult life.4

          For all of the reasons stated above, Plaintiff has filed this action, seeking compensatory

  damages in excess of $75,000.00 and injunctive relief.

                                             THE PARTIES

          1.      Plaintiff is an individual who resides in Miami, Florida and is otherwise sui juris.

          2.      BUTLER UNIVERSITY is a non-profit corporation organized and operated under

  the laws of the State of Florida.

          3.      JAMES M. DANKO is an individual who, upon information and belief, resides in

  the State of Indiana and is otherwise sui juris. He is the President of BUTLER.

          4.      LEVESTER JOHNSON is an individual who, upon information and belief, resides



          4

          Shortly before the date of filing of this Complaint, Plaintiff was accepted by St. Louis
  University in St. Louis, Missouri, after receiving rejections from seven (7) other colleges. However,
  there is a significant difference in the academic quality of the schools (i.e., Butler v. St. Louis):
  according to the 2015 U.S. News and World Report’s rankings of America’s best colleges, Butler
  ranked #2 among “Midwest Universities”, whereas St. Louis University was tied for #199 among
  “National Universities”.


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  in the State of Indiana and is otherwise sui juris. He is the Vice-President for Student Affairs at

  BUTLER.

           5.     STACIE COLSON PATTERSON is an individual who, upon information and belief,

  resides in the State of Indiana and is otherwise sui juris. She is the Title IX Coordinator for

  BUTLER.

           6.     ANNE FLAHERTY is an individual who, upon information and belief, resides in

  the State of Indiana and is otherwise sui juris. She was the non-voting chairperson of the Equity

  Grievance Panel which found Plaintiff in violation of school policy as set forth in greater detail

  below.

           7.     SALLY CLICK is an individual who, upon information and belief, resides in the

  State of Indiana and is otherwise sui juris. She was one of the three (3) voting members of the

  Equity Grievance Panel which found Plaintiff in violation of school policy as set forth in greater

  detail below.

           8.     ERIN McCLUNEY is an individual who, upon information and belief, resides in the

  State of Indiana and is otherwise sui juris. She was one of the three (3) voting members of the

  Equity Grievance Panel which found Plaintiff in violation of school policy as set forth in greater

  detail below.

           9.     ROBERT PADGETT is an individual who, upon information and belief, resides in

  the State of Indiana and is otherwise sui juris. He was one of the three (3) voting members of the

  Equity Grievance Panel which found Plaintiff in violation of school policy as set forth in greater

  detail below.

           10.    MARTHA DWIZLIK is an individual who, upon information and belief, resides in


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  the State of Indiana and is otherwise sui juris. She was the investigator for the Equity Grievance

  Panel which found Plaintiff in violation of school policy as set forth in greater detail below.

          11.     “JANE SMITH” is an individual who, upon information and belief, resides in the

  State of Indiana and is otherwise sui juris. At all times relevant hereto, she was and is a student at

  BUTLER who made the allegations in issue against Plaintiff.

                                JURISDICTIONAL ALLEGATIONS

          12.     This Court has subject matter jurisdiction in this case on several grounds.

          13.     First, there are counts based on violations of federal statutes, specifically, 20 U.S.C.

  §1681 (also known as “Title IX”) (discrimination based on sex) and 42 U.S.C. §1981 (discrimination

  based on race), giving the Court jurisdiction under 28 U.S.C. §1331 (jurisdiction arising under

  federal question).

          14.     Alternatively, this Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332

  (diversity jurisdiction) as there is complete diversity between the Plaintiff – a citizen of Florida – and

  the Defendants, who are all citizens of Indiana.

          15.     In addition to the federal claims brought in this action, Plaintiff has alleged several

  causes of action under Indiana law. This Court has supplemental jurisdiction over these claims

  pursuant to 28 U.S.C. §1367 as these claims are so related to the federal claims “that they form part

  of the same case or controversy under Article III of the United States Constitution.”

          16.     This Court also has personal jurisdiction over all Defendants in that they reside

  and/or conduct business on a regular and ongoing basis in the State of Indiana and in the Southern

  District of Indiana.

          17.     Venue is proper in the Southern District of Indiana pursuant to 28 U.S.C. §1391(b)(1)


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  because Defendants are subject to personal jurisdiction in this district and therefore “reside” in this

  district, as that term is defined in 28 U.S.C. §1391(c)(3).

          18.     Venue is also proper in this district pursuant to 28 U.S.C. §1391(b)(2) because a

  substantial part of the events that give rise to the claims asserted herein occurred in this district.

          19.     Finally, all conditions precedent to the filing and prosecution of this action have

  either been satisfied or waived.

                          ALLEGATIONS COMMON TO ALL COUNTS

  The Events Leading to BUTLER’S Investigation

          20.     Virtually all of the events upon which Plaintiff’s Complaint is based occurred in the

  evening hours of April 18, 2015 and the early morning hours of April 19, 2015.

          21.     In the fall of 2014, Plaintiff enrolled as a freshman undergraduate at BUTLER.

          22.     During his first semester, he had an intimate (sexual) relationship with another

  BUTLER student, ANNALISE LARSON (“LARSON”).5

          23.     Testimony was introduced at the grievance hearing that, during their relationship,

  all sexual activity between Plaintiff and LARSON was consensual, which supported Plaintiff’s

  testimony that he was well-aware of BUTLER’S policy about sexual contact between students, and

  in particular, the requirement that such activity be consensual.

          24.     At approximately midnight on Saturday night, April 18, 2015, Plaintiff decided to

  attend a party at Delta Tau Delta Fraternity. He went to the party with his roommate, MATTHEW

  GOFF (“GOFF”), and GOFF’S girlfriend, ALLIE RAMSEYER (“RAMSEYER”).



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          LARSON was a character witness for Plaintiff at the grievance hearing.

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          25.     Plaintiff, along with GOFF and RAMSEYER, were among the first students to arrive

  at the party.

          26.     Plaintiff consumed alcohol prior to going to the party, and also consumed alcohol

  at the party. However, this consumption occurred over a period of many hours, and at no time on

  the night and morning in question was he intoxicated, either while attending the party or after he left

  the party with “JANE SMITH”.

          27.     Shortly after arriving at the party, Plaintiff saw “JANE SMITH”, who was with one

  of her friends, Riley Higgins. He approached her and began talking with “JANE SMITH”.

  Eventually, he asked her to dance, and they began dancing.

          28.     According to numerous witnesses who eventually testified at the grievance hearing,

  both for and against Plaintiff, he and “JANE SMITH” began to dance more intimately, and

  eventually started “making out” on the dance floor, in full view of all the other students attending

  the party.6

          29.     There was an obvious attraction between Plaintiff and “JANE SMITH”, and they

  decided to leave the party to go to his dormitory room.

          30.     However, unbeknownst to Plaintiff, “JANE SMITH” had recently broken up with her

  boyfriend, and her girlfriends had decided amongst themselves that they would “watch out” for

  “JANE SMITH” during the party, to make sure she (1) did not drink to excess and/or (2) get

  involved with anyone she might meet at the party.



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         The intimate nature of the dancing included extreme physical contact which was described
  by several eyewitnesses as “grinding.”


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          31.    These friends of “JANE SMITH”, all of whom are women, acknowledge that they

  are a very tight-knit group of students; they even have a name for their clique, “The Shakin’ Hams”,

  and several of them testified in the grievance hearing that several of them knew each other (through

  other family members) even before attending BUTLER.

          32.    In other words, “JANE SMITH’S” friends were (according to them) trying to protect

  a friend from “making a mistake” while she was “vulnerable”.

          33.    Of course, what these “friends” failed or refused to recognize was that “JANE

  SMITH” was a free actor, an adult over the age of consent, who had the absolute right to make her

  own decisions that evening, including whether or not she wanted to be with Plaintiff, and to what

  extent she wished to become intimate with him.

          34.    On at least two (2) occasions during the subject party, Plaintiff and “JANE SMITH”

  attempted to leave the party, but were confronted and prevented from leaving by one or more of

  “JANE SMITH’S” friends.

          35.    Eventually, “JANE SMITH”, without any assistance or inducement from Plaintiff,

  concocted a plan by which the two of them could be alone. The plan consisted of the following:

  “JANE SMITH” would indicate to her friends that she was tired and wanted to go back to her room

  at her dormitory, Schwitzer Hall; Plaintiff would agree to walk her back to her room to make sure

  she got there safely; once at Schwitzer Hall, “JANE SMITH” would take a photograph of herself in

  her room and send it to her friends to assure them that she had gotten home safely, when in fact they

  (“JANE SMITH” and Plaintiff) would be together at Plaintiff’s room in another dormitory, Ross

  Hall.

          36.    This plan, revealed by “JANE SMITH” to Plaintiff, reasonably led Plaintiff to believe


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  that “JANE SMITH” wanted to be alone with him (other behavior by “JANE SMITH” which

  occurred later, to be described below, would reasonably indicate to Plaintiff that not only did “JANE

  SMITH” want to be alone with him but that she was and did in fact consent to sexual activity with

  him).

          37.    At approximately 2:00 A.M. on Sunday, April 19, 2015, “JANE SMITH” and

  Plaintiff left the party, and proceeded to Schwitzer Hall, “JANE SMITH’S” dormitory.

          38.    Once there, Plaintiff waited outside her room; “JANE SMITH” came out of her room

  within a few moments, and the couple proceeded to walk over to Plaintiff’s dormitory, Ross Hall.

          39.    While en route to their destination, “JANE SMITH” and Plaintiff were approached

  by one of “JANE SMITH’S” friends, (Mary) Kate Richards, who wanted to know why they were

  going to Plaintiff’s dormitory. During this conversation, “JANE SMITH” acknowledged that she

  was going to his (Plaintiff’s) room consensually, and at no time did “JANE SMITH” indicate to her

  friend, either by word or action, that she did not wish to go with Plaintiff.

          40.    At that point, “JANE SMITH’S” friend left, and “JANE SMITH” and Plaintiff

  continued on to Plaintiff’s room.

          41.    Once inside the room, “JANE SMITH” and Plaintiff began taking off each other’s

  clothing, and then engaged in sexual contact – oral contact at first, then intercourse.

          42.    Throughout this period, “JANE SMITH” was indicating to Plaintiff by her actions

  that she was consenting to the sexual activity.

          43.    Shortly after intercourse began, “JANE SMITH” stated that “it hurt”, and requested

  that Plaintiff stop, which he did, immediately.

          44.    There was no further sexual contact between them, and shortly thereafter, one of


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  “JANE SMITH’S” friends, Ms. Loughman, knocked on the room door.

         45.       Plaintiff opened the door, whereupon the friend (Loughman) saw “JANE SMITH”

  unclothed, and demanded to know why she (“JANE SMITH” ) had lied to her about going back to

  the dormitory.

         46.       “JANE SMITH”, obviously humiliated and embarrassed, then told her friend that

  she has been sexually assaulted by Plaintiff.

  BUTLER’S Investigation Begins

         47.       BUTLER’S investigation began on or about April 20, 2015, approximately one to

  one and one-half days after the incident occurred.

         48.       Upon information and belief, before the investigation began, “JANE SMITH’S”

  father, “BILL SMITH”, met with either the President of BUTLER (DANKO) or a Vice-President,

  and demanded that Plaintiff be dismissed from BUTLER, notwithstanding the fact that he (Plaintiff)

  had certain due process rights and that the university had not even determined if, in fact, any

  violation of school policy had occurred.

         49.       This intense pressure from “JANE SMITH’S” father colored BUTLER’S entire

  investigation, including but not limited to BUTLER’S chief investigator, DWIZLIK, and Detective

  Diane Sweeney of the BUTLER Police Department, who assisted DWIZLIK with the investigation,

  being predisposed to believe that Plaintiff had, in fact, sexually assaulted “JANE SMITH”.

         50.       Upon information and belief, at the same time that BUTLER was conducting its

  investigation, Marion County prosecutors began an independent investigation into whether a criminal

  sexual assault had occurred – yet at no time does it appear that the two (2) investigations coordinated

  with each other, except for a single conference between Detective Sweeney and Kimberly Rasheed,


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  an assistant district attorney with the Marion County Prosecutor’s Office, after which it was

  determined that no criminal charges would be filed against Plaintiff.7

         51.     Although Plaintiff did not have access to DWIZLIK’S investigative report,8 both he

  and “JANE SMITH” were interviewed by her, and DWIZLIK acknowledged being told by “JANE

  SMITH” that she (“JANE SMITH”) allowed Plaintiff to undress her while they were in his dormitory

  room without any objection, an action clearly indicating consent.

         52.     DWIZLIK completed her report and submitted it to PATTERSON. That report,

  dated May 8, 2015, was heavily redacted and was not turned over to Plaintiff or his counsel until

  after the grievance hearing took place 6 days later.

         53.     Plaintiff, to his credit, fully cooperated with both BUTLER’S investigation and

  Marion County’s investigation. He gave a voluntary statement to Detective Sweeney in which he

  freely and fully acknowledged that he had engaged in consensual sexual activity with “JANE

  SMITH”, despite her later comments to the contrary. There were no questions posed by Detective

  Sweeney that Plaintiff refused to answer, and at no time did he invoke his constitutional rights

  against self-incrimination, either during that interview or during the grievance hearing.

         54.     On April 30, 2015, Plaintiff was notified by email (from PATTERSON) that the

  information provided to her by DWIZLIK was “sufficient to support a possible policy violation.”


         7

         Plaintiff was not advised until after the Panel conducted his grievance hearing that the
  Marion County prosecutors were not going to prosecute him, yet BUTLER refused to consider this
  newly-discovered evidence as support for Plaintiff’S appeal. See this Complaint, infra at ¶¶70-72.

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         DWIZLIK read a summary of that report at the Panel’s hearing.


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         55.     Plaintiff was then notified that the grievance hearing would be conducted on May 14,

  2015. Although he was advised of his right to provide the Panel with the names of witnesses that

  he wished to call on his behalf, he was not provided with a copy of the investigator’s (DWIZLIK’S)

  investigative report (as noted above) prior to the hearing,9 nor did he know the names and identities

  of witnesses being called by “JANE SMITH” – or by BUTLER on her behalf – until after the

  Grievance Hearing had begun.

  The Grievance Hearing

         56.     During the grievance hearing, an opaque wood panel, approximately eight feet in

  height, was placed between the table at which Plaintiff sat (with his counsel and student advisor) and

  the table at which “JANE SMITH” sat (with her advisor, her father). At no time during the hearing

  was “JANE SMITH” visible to either Plaintiff or his counsel.

         57.     At no time during the hearing was Plaintiff or his attorney allowed to directly

  question any witness; he was only allowed to submit potential questions to the Panel Chair

  (FLAHERTY), who decided which questions would be read to the witnesses (she herself read

  questions which she had approved). Not all of the questions submitted by Plaintiff’s counsel were

  approved by FLAHERTY, and thus counsel’s ability to question witnesses was further limited.

         58.     Throughout the hearing, and in particular during Panel member CLICK’S direct

  questioning of Plaintiff,10 it was obvious that Plaintiff was being forced by the Panel to demonstrate

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          And when he was provided with a copy of that report, it was heavily redacted – the names
  of all witnesses interviewed by DWIZLIK were redacted.

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          CLICK made it quite clear during her questioning that she would not recognize anything
  short of an express statement by “JANE SMITH” along the lines of “I consent to the following

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  his innocence (by proving the sexual encounter with “JANE SMITH” was consensual) rather than

  requiring his accusers – BUTLER and “JANE SMITH” – to prove that he had in fact violated the

  school’s Policy.

         59.     By shifting the burden of proof, BUTLER denied Plaintiff basic rights of due

  process as guaranteed him under both federal and Indiana state law.

         60.     At the conclusion of the hearing, the voting members of the Panel caucused, and

  submitted a short written report containing their findings and their recommendation.

         61.     In a letter dated May 18, 2015, sent by PATTERSON, Plaintiff was informed of the

  Panel’s decision and recommendation: by a “preponderance of the evidence”, the panel found him

  in violation of the school’s Civil Rights Equity Grievance Policy,11 and recommended that he be

  “dismissed from Butler University immediately.”

         62.     BUTLER’S policy provided for a severely limited appeal to be filed within three (3)

  days from the date of the letter.

         63.     On May 21, 2015, Plaintiff timely served his appeal, which by school policy was

  primarily limited to raising procedural errors only.

         64.     As his first grounds for appeal, Plaintiff pointed out that the Policy sets forth the

  rights of the accused, among which are “[t]o be informed of the outcome/resolution of the complaint




  specific sexual activity with Plaintiff’ as proof of consent. Such a position is neither consistent with
  the provisions of BUTLER’S Policy nor with the realities of consensual human sexual behavior.

         11

         The vote on the charge of “non-consensual sexual contact” was 2-1 against Plaintiff, and the
  vote on the charge of “non-consensual sexual intercourse” was 3-0 against him.


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  and the rationale for the outcome, in writing.” (Emphasis added). However, the Panel’s decision,

  as conveyed to him by PATTERSON, only stated the Panel’s decision and recommended

  punishment; nothing else was provided in writing, thereby severely restricting Plaintiff’s ability to

  determine if one or more members of the Panel demonstrated bias in that report, which would

  constitute “a procedural error...that significantly impacted the outcome of the hearing”, one of the

  bases set forth in the Policy as grounds for appeal.

            65.   This violation of the Policy was “remedied” by PATTERSON by providing the

  written report of the Panel (referred to above) to Plaintiff after his appeal had already been

  submitted.

            66.   As his second procedural grounds for his appeal, Plaintiff pointed out that one of the

  Panel members (CLICK), through her questioning of Plaintiff at the hearing, demonstrated her

  misunderstanding of what constitutes proof of consent as that term is defined under BUTLER’S

  Policy, thereby subjecting Plaintiff to a completely improper burden of proof (as well as shifting the

  burden of proof on that critical issue to him).

            67.   PATTERSON dismissed this grounds for appeal as raising “non-procedural” error.

            68.   Plaintiff’s third procedural grounds for appeal were related to the second grounds, as

  he asserted that CLICK’S obvious misunderstanding and/or misapplication of the provisions of

  BUTLER’S Policy demonstrated a personal bias on her part as well, which clearly would constitute

  grounds for appeal.

            69.   Again, PATTERSON dismissed this grounds for appeal as raising “non-procedural

  error”.

            70.   Plaintiff’s last grounds for appeal was that newly discovered evidence existed which


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  was relevant to the Panel, i.e., that the parallel investigation by the Marion County Prosecutor’s

  Office resulted in no criminal charges being filed against him.

         71.     In response, PATTERSON dismissed the evidence as being irrelevant because of the

  different standards of proof in administrative proceedings and criminal proceedings. She also noted

  that Plaintiff “could have called either Detective Sweeney and/or Assistant Prosecutor Rasheed as

  witnesses, and therefore, there was no “newly discovered evidence.”

         72.     PATTERSON’S response completely ignored the fact, as stated above, that the

  prosecutor’s decision not to charge Plaintiff criminally did not come until after the Grievance

  hearing had already taken place.

         73.     Thus, taken as a whole, BUTLER”S response to Plaintiff’s appeal shows more

  desire to uphold the decision to expel him rather than to afford him due process – in short, it appears

  that BUTLER’S consideration of Plaintiff’s appeal was pro forma.

  Aftermath

         74.     After being expelled from BUTLER, Plaintiff made applications to several colleges

  and universities to began a new academic career elsewhere – eight in all.

         75.     He was rejected from the first seven schools to which he applied – not because he

  did not qualify academically, but rather because the schools asked about the circumstances

  surrounding his dismissal from BUTLER.12

         76.     Plaintiff answers those inquiries fully and truthfully – although continuing to assert

  his innocence at all times.

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         As noted earlier, he was eventually accepted at St. Louis University.


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         77.       The schools did not care: his applications were summarily rejected once the events

  at BUTLER were revealed.

         78.       Plaintiff became despondent and withdrawn; he also manifested physical signs of

  depression, including insomnia and loss of appetite.

         79.       He also was under the care of a licensed health professional, although that has now

  stopped, at least temporarily.

         80.       Finally, as indicated above, see supra, pg. 6, n. 4, shortly before this Complaint was

  filed, Plaintiff was accepted by St. Louis University in St. Louis, Missouri. However, as noted

  above, there is a significant difference in the academic quality of the schools: according to the 2015

  U.S. News and World Report’s rankings of America’s best colleges, Butler ranked #2 among

  “Midwest Universities”, whereas St. Louis University was only tied for #199 among “National

  Universities”.

         81.       Plaintiff has had to retain the services of ANDREW M. KASSIER, P.A. in order to

  file and prosecute this complaint, and he is obligated to pay them a reasonable fee for their services.

                                             COUNT I.
                                      BREACH OF CONTRACT
                                         (Against BUTLER)

         82.       Plaintiff realleges and re-avers the jurisdictional and common allegations contained

  in paragraphs 1 through 81 above as though specifically pled in this count.

         83.       Plaintiff had a contractual relationship with BUTLER, pursuant to which he was

  promised an undergraduate education, culminating in the award of a degree, provided he met all

  academic standards of BUTLER and remained a student in good standing.

         84.       Pursuant to that contractual relationship, both Plaintiff and BUTLER agreed to abide


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  by the terms of the Policy (Exhibit “A”), which imposed certain obligations on each of them,

  including but not limited to a well-defined protocol for BUTLER to follow in the event that one of

  its students was accused of sexual misconduct involving another BUTLER student.

            85.   That Policy, at least in theory, was designed to afford an accused student due process

  in the investigation and prosecution of allegations of sexual misconduct.

            86.   However, as set out with greater specificity above, BUTLER failed to comply with

  its Policy, and in so doing, breached its obligations under its contract with Plaintiff, by failing to

  conduct a fair and unbiased investigation and prosecution of the allegations made by “JANE

  SMITH” against Plaintiff because of his gender and race.

            87.   Plaintiff fulfilled his obligations under the parties’ contract, or was excused from

  compliance with same by BUTLER’S breach of its obligations thereunder.

            88.   As the direct result of BUTLER’S breach of contract, Plaintiff has suffered injury

  and incurred compensable damages, and will continue to suffer such injury and damages in the

  future.

                                      COUNT II.
                          BREACH OF COVENANT OF GOOD FAITH
                                  AND FAIR DEALING
                                   (Against BUTLER)

            89.   Plaintiff realleges and re-avers the jurisdictional and common allegations contained

  in paragraphs 1 through 81 above as though specifically pled in this count.

            90.   Pursuant to Indiana law, the contract between Plaintiff and BUTLER contained an

  implied covenant of good faith and fair dealing.

            91.   BUTLER breached its duty and obligation of good faith and fair dealing in its



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  investigation and prosecution of “JANE SMITH’S” allegations against Plaintiff, in its decision-

  making process, its ultimate imposition of sanctions against Plaintiff, and its refusal to consider

  newly-discovered evidence which would have served to exonerate Plaintiff.

            92.   As the direct and proximate result of BUTLER’S breach of the covenant of good

  faith and fair dealing, Plaintiff has suffered damages and will continue to suffer such damages in the

  future.

                                         COUNT III.
                       TORTIOUS INTERFERENCE WITH CONTRACT
                             (Against All Individual Defendants)

            93.   Plaintiff realleges and re-avers the jurisdictional and common allegations contained

  in paragraphs 1 through 81 above as though specifically pled in this count.

            94.   All of the individual Defendants were aware of the contractual relationship between

  Plaintiff and BUTLER as set forth with greater specificity above, including but not limited to the

  procedures and protocols set forth in “the Policy.”

            95.   The individual Defendants intentionally and maliciously interfered with Plaintiff’s

  contractual relationship with BUTLER as set forth above, including but not limited to their failure

  to insure that BUTLER’S disciplinary process was fair, unbiased, and non-discriminatory to Plaintiff,

  and/or by denying Plaintiff a fair disciplinary hearing by their actions and/or testimony during those

  proceedings.

            96.   As the direct and proximate result of the actions of the individual Defendants,

  Plaintiff suffered injury, to-wit: BUTLER’S termination of its contractual relationship with him, and

  Plaintiff will continue to suffer such injury in the future.




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                                        COUNT IV.
                          (VIOLATION OF 20 U.S.C. §1681) (TITLE IX)
                                  (Against All Defendants)

          97.     Plaintiff realleges and re-avers the jurisdictional and common allegations contained

  in paragraphs 1 through 81 above as though specifically pled in this count.

          98.     Plaintiff has a right, pursuant to title IX of the federal Education Amendments of

  1972, to not be subjected to discipline by a university (in this case, BUTLER), where sex is a

  motivating factor in the decision to enforce the school’s Policy and to impose sanctions.

          99.     Title IX further requires that federally-funded colleges and university, which

  BUTLER is, must adopt and follow grievance procedures that provide for “prompt and equitable”

  resolution of Title IX complaints, as set forth with specificity at 34 C.F.R. §106.8(b).

          100.    The United States Department of Education, at least as far back as April, 2011, that

  such “prompt and equitable” procedures must provide, at a minimum, certain specific protections,

  including “[a]dequate, reliable, and impartial investigation of complaints, including the opportunity

  for both parties to present witnesses and other evidence.” The Department of Education also advised

  that throughout the pendency of such an investigation, up to and including the hearing, “the parties

  must have an equal opportunity to present relevant witnesses and other evidence.”

          101.    As described with greater specificity above, BUTLER violated Plaintiff’s Title IX

  rights when it failed to provide “equitable” procedures to Plaintiff and selectively enforced

  provisions of “the Policy” against him, in violation of federal law, i.e., Title IX, in spite of evidence

  that (1) the allegations against him were not credible and (2) unrebutted evidence that the sexual

  activity between Plaintiff and “JANE SMITH” was, in fact, consensual.

          102.    BUTLER further violated Plaintiff’s Title IX rights as it appears no investigation


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  whatsoever was done by BUTLER into whether “JANE SMITH”, Plaintiff’s accuser, and/or her

  friends, had themselves violated “the Policy” by, inter alia, making false and malicious allegations

  against Plaintiff regarding his sexual activity with “JANE SMITH”.

            103.   Even after Plaintiff presented (and attempted to present, in his appeal) exculpatory

  evidence, BUTLER refused to re-open the investigation, or even to re-consider the sanctions

  imposed against Plaintiff.

            104.   BUTLER failed to remediate, in any way, its discriminatory actions against Plaintiff.

            105.   As the direct and proximate result of the actions of BUTLER, Plaintiff has suffered

  damages, and will continue to suffer such damages in the future.

                                            COUNT V.
                                   VIOLATION OF 42 U.S.C. §1981
                                      (Against All Defendants)

            106.   Plaintiff realleges and re-avers the jurisdictional and common allegations contained

  in paragraphs 1 through 81 above as though specifically pled in this count.

            107.   Pursuant to the federal Civil Rights Act, 42 U.S.C. §1981, Plaintiff has a right to

  enjoy all of the benefits, privileges, and protections of his contractual relationship with BUTLER

  without fear of discrimination being exerted or utilized by BUTLER based on his race and/or ethnic

  origin.

            108.   As noted above, Plaintiff is Hispanic, whereas “JANE SMITH” (his primary

  accuser), the other BUTLER students who testified favorably to her, the investigator assigned by

  BUTLER to the subject complaint, the entire panel who presided over the disciplinary proceedings

  against Plaintiff, and the other BUTLER personnel named as individual Defendants herein are all

  non-Hispanic.


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         109.    BUTLER, with the assistance and participation of the individual Defendants,

  discriminated against Plaintiff, a Hispanic male from Miami, Florida, on the basis of race and/or

  ethnic origin through its discriminatory enforcement of, and/or performance under, “the Policy”,

  specifically, by the manner in which it handled “JANE SMITH’S” complaint, through and including

  the disciplinary hearing, and its treatment of Plaintiff after the hearing.

         110.    BUTLER also discriminated against Plaintiff through its failure to properly

  investigate whether “JANE SMITH” had violated “the Policy” through her false and malicious

  accusations against Plaintiff.

         111.    As with its violation of Title IX, as set forth with specificity in the preceding count,

  BUTLER has failed to remediate its discriminatory actions against Plaintiff as alleged in this count.

         112.    As the direct and proximate result of the actions of BUTLER, Plaintiff has suffered

  damages, and will continue to suffer such damages in the future.

                                             COUNT VI.
                                           DEFAMATION
                                          (Against BUTLER)

         113.    Plaintiff realleges and re-avers the jurisdictional and common allegations contained

  in paragraphs 1 through 81 above as though specifically pled in this count.

         114.    Following the conclusion of the disciplinary proceedings described herein, upon

  information and belief, BUTLER published and made available to third parties the findings and

  recommendations of the disciplinary panel finding that Plaintiff had violated “the Policy” by

  engaging in non-consensual sexual activity with “JANE SMITH”.

         115.    The statements made in said publication were knowingly false and defamatory, and

  held Plaintiff up to ridicule and scorn in the BUTLER community.


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          116.    Additionally, BUTLER marked Plaintiff’s permanent record with the statement

  “Dismissed permanently from the University”, and those records have been disseminated to other

  colleges and universities by BUTLER.

          117.    BUTLER’S reliance on its flawed and discriminatory investigatory and disciplinary

  process as a basis for publishing the defamatory statements was done with knowing or reckless

  disregard of the truth.

          118.    As the direct and proximate result of the actions of BUTLER, Plaintiff has suffered

  damages, and will continue to suffer such damages in the future.

                                    COUNT VII.
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                               (Against All Defendants)

          119.    Plaintiff realleges and re-avers the jurisdictional and common allegations contained

  in paragraphs 1 through 81 above as though specifically pled in this count.

          120.    The conduct of Defendants, as described with greater specificity above, was extreme,

  outrageous, and beyond the scope of common decency and was intended to cause Plaintiff severe

  emotional distress.

          121.    The actions of Defendants not only caused Plaintiff to suffer emotional distress, but

  also resulted in actual physical injury to Plaintiff, as stated with greater specificity above.

          122.    As the direct and proximate result of the actions of Defendants, Plaintiff has suffered

  damages, and will continue to suffer such damages in the future.

                                    COUNT VIII.
                   NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                               (Against All Defendants)

          123.    Plaintiff realleges and re-avers the jurisdictional and common allegations contained


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  in paragraphs 1 through 81 above as though specifically pled in this count.

          124.    Each and every Defendant owed a duty to Plaintiff to not make false and malicious

  allegations of sexual misconduct against him and/or to not participate in the disciplinary proceedings

  for the purpose of furthering the dissemination of those allegations.

          125.    The conduct of Defendants, as described with greater specificity above, was extreme,

  outrageous, and beyond the scope of common decency and was intended to cause Plaintiff severe

  emotional distress.

          126.    The actions of Defendants not only caused Plaintiff to suffer emotional distress, but

  also resulted in actual physical injury to Plaintiff, as stated with greater specificity above.

          127.    As the direct and proximate result of the actions of Defendants, Plaintiff has suffered

  damages, and will continue to suffer such damages in the future.

                 COUNT IX: PRELIMINARY AND PERMANENT INJUNCTION
                                  (Against BUTLER)

          128.    Plaintiff realleges and re-avers the jurisdictional and common allegations contained

  in paragraphs 1 through 81 above as though specifically pled in this count.

          129.    BUTLER’S action of permanently dismissing Plaintiff from the university has had

  a continuing effect upon Plaintiff to the present day.

          130.    There exists a strong likelihood of irreparable harm if BUTLER’S ongoing conduct

  is not enjoined, specifically, its maintaining of student records reflecting that Plaintiff was

  permanently dismissed from the university, and disseminating that information to any and all third

  parties requesting to view, or be provided with copies of, Plaintiff’s permanent student records.

          131.    Plaintiff has no adequate remedy at law.



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         132.    Plaintiff has a substantial likelihood of success on the merits as to his claims.

         133.   The threatened injury to Plaintiff outweighs any possible harm to BUTLER.

         134.   The granting of a temporary injunction will not disserve the public interest under

  these circumstances.

         135.   Should Plaintiff prevail in this action, he would be entitled to have the temporary

  injunction made permanent.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff “JOHN DOE” prays this Court grant him the following relief:

                A.       The entry of judgment in his favor as to all counts of his Complaint;

                B.       The entry of an award of compensatory damages, including costs and interest

                         as provided by law;

                C.       The entry of both a temporary/preliminary and a permanent injunction against

                         Defendant BUTLER UNIVERSITY that (1) requires it to redact its records

                         to delete any reference to Plaintiff being permanently dismissed from the

                         university and (2) prevents it from disseminating any information to third

                         parties that Plaintiff had been, prior to the disposition of this lawsuit,

                         “permanently dismissed” from the university;

                D.       The entry of an award of reasonable attorney’s fees as provided by law; and

                E.       Any and all other such relief at law or in equity this Court may deem just and

                         proper.




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                                 DEMAND FOR JURY TRIAL

        Plaintiff hereby demands trial by jury for all claims and issues herein so triable.

  DATED this 8th day of August, 2016.
                                                       Respectfully submitted,

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                                                       Attorneys for Plaintiff




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